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                                   UNITED STATES DISTRICT COURT

                                  WESTERN DISTRICT OF LOUISIANA

                                              MONROE DIVISION

LLOYD PRICE                                                   *
                                                              *
                                                              *
            Plaintiff,                                        * CIVIL ACTION NO:
                                                              *
                                                              *
                                                              *
        versus                                                *
                                                              *
                                                              *
                                                              *
    WAL-MART LOUISIANA, LLC, WAL-                             * JUDGE:
                                                              *
                                                              *
                                                              *
    MART STORES INC., STACY MARTIN,                           *
    THE COCA-COLA COMPANY, AND                                *
                                                              *
                                                              *
    COCA-COLA BOTTLING COMPANY                                * MAGISTRATE JUDGE:
                                                              *
    UNITED, INC.                                              *
                                                              *
                                                              *
                                                              *
            Defendants.                                       *
                                                              *
                                                              *
                                                              *
** ** ** ** ** ** ** ** ** ** ** ** ** ** ** ** ** ** ** **

                                           NOTICE OF REMOVAL

TO:      THE JUDGES OF THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF LOUISIANA

         PLEASE TAKE NOTICE that Defendants Coca-Cola Bottling Company United, Inc.,

              Company,1 Wal-Mart Louisiana LLC, Wal-Mart Stores, Inc., and Stacy Martine
The Coca-Cola Company,'                                                          Martin2

(collectively "Defendants"),
(collectively “Defendants”), pursuant to 28 U.S.C. §§1441 and 1446, hereby remove the above-

                          4h Judicial District Court for the Parish of Ouachita, State of Louisiana,
captioned action from the 4h

to the United States District Court for the Western District of Louisiana, Monroe Division,



11 The Coca-Cola Company is not a proper party-defendant to this action.  At the time of the incident in question, Coca-
Cola Bottling Company United, Inc. owned all of the the "Coca-Cola"
                                                        “Coca-Cola” identified
                                                                    identified coolers
                                                                               coolers in the Wal-Mart
                                                                                       in the Wal-Mart Store located at
2701 Louisville Avenue in Monroe, Louisiana. The Coca-Cola Company did not own any said coolers, nor did it
have any responsibility for servicing said coolers.
2
2 Stacy Martin is not a proper party-defendant to this action. He has been improperly joined and should not be
 Stacy
considered for the purposes of determining the existence of diversity jurisdiction. It is well-settled that co-defendants
who are improperly joined need not join in removal. See Getty Oil Corp. v. Ins. Co. of N. Am., 841 F.2d 1254, 1261
n.9 (5th Cir. 1988). In an abundance of caution, however, Mr. Martin joins in this removal.

                                                           1
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appearing solely for the purpose of presenting this Notice of Removal to this Honorable Court and

reserving all rights, and respectfully state as follows:

                      BACKGROUND AND PROCEDURAL HISTORY

       1.
       1.                                             4th Judicial District Court for the Parish of
               Plaintiff commenced this action in the 4th

Ouachita on March 1, 2017 by filing a Petition for Damages, bearing Case No. 17-0654, entitled

“Lloyd Price v. Wal-Mart Louisiana, LLC, Wal-Mart Stores, Inc., Stacy Martin, The Coca-Cola
"Lloyd

                                                         Petition, Exhibit
Company, and Coca-Cola Bottling Company United, Inc. See Petition,         “A.”
                                                                   Exhibit "A."

       2.
       2.                                                                                    U.S.C.
               As will be shown below, this Court has jurisdiction over this matter under 28 U. S.C.

§1332(a) because complete diversity of citizenship exists between the properly joined parties and

the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

       3.
       3.      Pursuant to
               Pursuant to 28
                           28 U.S.C.
                              U.S.C. 1446(b),
                                     1446(b), "[A]
                                              “[A] notice
                                                   notice of
                                                          of removal
                                                             removal may
                                                                     may be
                                                                         be filed
                                                                            filed within
                                                                                  within thirty
                                                                                         thirty

days after receipt by the defendant, through service or otherwise, of a copy of an amended

pleading, motion, order, or other paper from which it may be first ascertained that the case is one

which is
which    or has
      is or has become
                become removable
                       removable .. .. .. ."
                                          .” Responses
                                             Responses to
                                                       to discovery are considered
                                                          discovery are considered "other
                                                                                   “other paper"
                                                                                          paper”

pursuant to 28 U.S.C. § 1446(b). See Chapman v. Powermatic, Inc., 969 F.2d 160, 164-65 (5th

Cir. 1992). This Notice of Removal is timely filed within thirty days of the receipt by Defendants

of Plaintiffs
of Plaintiff’s discovery
               discovery responses which indicate, for the first time, that the amount of controversy

                                                        Plaintiff’s Answers to Interrogatories and
exceeds 75,000.00, exclusive of interest and costs. See Plaintiffs

                            dated July
Email Transmission of Same, dated      26, 2017,
                                  July 26, 2017, Exhibit “B.”
                                                 Exhibit "B."

       4.      All Defendants join in and consent to this removal.

              COMPLETE DIVERSITY OF CITIZENSHIP EXISTS
        BETWEEN PLAINTIFF AND THE PROPERLY-JOINED DEFENDANTS

       5.
       5.      Plaintiff is, and was the time the Petition was filed, a citizen of the State of

               Petition, Exhibit
Louisiana. See Petition, Exhibit "A."
                                 “A.”


                                                   2
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       6.
       6.      Defendant Coca-Cola Bottling Company United, Inc. is, and was at the time the

Petition was filed, an Alabama corporation, with its principal place of business in the State of

Alabama.

       7.      Defendant The Coca-Cola Company is, and was at the time the Petition was filed,

a Delaware corporation, with its principal place of business in the State of Georgia.

       8.
       8.      Defendant Wal-Mart Louisiana LLC is, and was at the time the Petition was filed,

                                     (“LLC”). The
a Delaware limited liability company ("LLC").     United States
                                              The United        Fifth Circuit
                                                         States Fifth Circuit has
                                                                              has held
                                                                                  held that
                                                                                       that the
                                                                                            the

citizenship of an LLC is determined by the citizenship of all of its members. Harvey v. Grey Wolf

Drilling, 542 F.3d 1077 (5th Cir. 2008). The sole member of Wal-Mart Louisiana LLC is Wal-

Mart Stores East, LP, a Delaware limited partnership. The general partner of Wal-Mart Stores

East, LP is WSE Management, LLC, a Delaware limited liability company. The limited partner

of Wal-Mart Stores East, LP is WSE Investment, LLC, a Delaware limited liability company. The

sole member of both WSE Management, LLC and WSE Investment, LLC is Wal-Mart Stores East,

Inc. an Arkansas corporation with its principal place of business in the State of Arkansas.

       9.
       9.      Defendant Wal-Mart Stores, Inc. is, and was at the time the Petition was filed, a

Delaware corporation with its principal place of business in the State of Arkansas.

       10.
       10.     Defendant Stacy Martin is, and was the time the Petition was filed, a citizen of the

State of Louisiana. His presence as a Defendant would otherwise destroy diversity. As set forth

below, Defendants allege that Mr. Martin was improperly joined so as to destroy the diversity

jurisdiction of this Court. His citizenship should be disregarded and he should be dismissed from

this action. See Flagg v. Stryker Corp., 819 F.3d 132,
                                         819 F.3d 132, 136
                                                       136 (5th Cir. 2016) ("[I]f
                                                                           (“[I]f the plaintiff

improperly joins a non-diverse defendant, then the court may disregard the citizenship of that




                                                 3
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defendant, dismiss the non-diverse defendant from the case, and exercise subject matter

jurisdiction over
jurisdiction      the remaining
             over the remaining diverse
                                diverse defendant.").
                                        defendant.”).

        11.
        11.    A diverse defendant may establish an in-state defendant was improperly joined for

the purpose of defeating its removal rights by demonstrating the inability of the plaintiff to

establish a cause of action against the non-diverse party in state court. Smallwood v. Illinois

Central. R. Co., 385 F.3d 568, 573 (5th Cir. 2004).

        12.
        12.     The Smallwood test requires a defendant to show there is no reasonable basis for

the district court to predict that the plaintiff might be able to recover against an in-state defendant.

Id. A court may resolve the issue in one of two ways. The court may conduct a Rule 12(b)(6)-type

analysis, looking initially at the allegations of the complaint to determine whether the complaint

states a claim under state law against the in-state defendant. Alternatively, the district court may,

in its discretion, pierce the pleadings and conduct a summary inquiry. Id.

        13.
        13.     There is no factual basis for a legal relationship between Mr. Martin and Plaintiff

that would give rise to a duty owed. See Guillory v. Gulf S. Beverages, Inc., 506 So. 2d 181, 184

(La. App. 1 Cir. 1987).

        14.
        14.     Louisiana
                Louisiana law is clear
                          law is clear that
                                       that "personal
                                            “personal liability cannot be
                                                      liability cannot be imposed upon the
                                                                          imposed upon the officer,
                                                                                           officer,

agent, or employee simply because of his general administrative responsibility for performance of

some function
some function of
              of the
                 the employment"
                     employment” and
                                 and that,
                                     that, rather, “[h]e must
                                           rather, "[h]e must have
                                                              have aa personal
                                                                      personal duty towards the

injured plaintiff,
injured plaintiff, breach
                   breach of
                          of which
                             which specifically
                                   specifically has
                                                has caused
                                                    caused the
                                                           the plaintiffs
                                                               plaintiff's damages.”
                                                                           damages." Gros v. Warren

Properties, Inc., No. CIV.A. 12-2184, 2012 WL 5906724, at *7 (E.D. La. Nov. 26, 2012) (citing

Canter v. Koehring Co., 283 So. 2d 716, 721 (La. 1973)).

        15.
        15.     Canter, 283 So.2d at 721, set forth the following factors to consider when

determining personal liability of employee-defendant: (1) The employer must owe a duty of care



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to the customer; (2) This duty must be delegated by the employer to the particular employee; (3)

The employee must have breached this duty through his own personal fault; and (4) Personal

liability cannot be imposed on the employee simply because of his general administrative

responsibility for performance of some function of employment; he must have a personal duty to

the plaintiff that was not properly delegated to another employee.

       16.     In order to assert a claim against Mr. Martin, Plaintiff has to establish that he owed

aa "personal
   “personal duty"
             duty” to
                   to him. See Kemp v. CTL Distribution, Inc., 440 F. App'x 240, 246 (5th Cir.

2011). But Plaintiff’s allegations against
           Plaintiff's allegations against Mr.
                                           Mr. Martin
                                               Martin stem
                                                      stem from his administrative duties as store
                                                           from his

         Plaintiff’s Petition
manager. Plaintiffs  Petition states
                              states that Mr. Martin, in concert with Defendants Wal-Mart

Louisiana, LLC and Wal-Mart Stores, Inc., is liable to him for the following reasons:

       a. Allowing the subject floor to remain wet in a traffic area of the subject store, wherein
       a.
          it posed and presented an unreasonably dangerous and hazardous condition for patrons
          and/or customers wherein there was a high likelihood that they would slip and/or fall
          upon the subject wet floor, thereby causing serious injuries;

       b. Failure to post appropriate warning signs or otherwise rope off or adequately and safely
          secure the area where the floor was wet so that patrons and/or customers such as
          petitioner would not slip and/or fall upon the subject we floor thereby causing serious
          damages;

       c. Failing to act as a reasonable person under the then prevailing circumstances;
       c.

       d. Reckless disregard for the safety of others;

       e. Failing to provide a safe environment for customers, such as petitioner, Lloyd Price;
       e.

       f. Negligent hiring and/or failure to train of various associates and/or employees of the
          subject Wal-Mart in an appropriate way to clean the floor so that the floor did not
          remain wet causing an unreasonably dangerous and hazardous condition for patrons
          and/or customers on the date of this subject incident;

       g. Failure to properly train employees with respect to safety in a manner by which the
       g.
          store would not pose an unreasonably dangerous hazard to patrons and/or customers
          such as petitioner;




                                                 5
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        h. Failure to implement proper safety policy and procedures which would have prevented
           the incident;

        i. Not cleaning up the fluid from the floor despite having actual, personal knowledge that
           the drink machine was leaking fluid on the floor, for at least 24 hours prior to the subject
           fall.

                      “A” at
See Petition, Exhibit "A" at ¶
                             ¶ 11.

        17.
        17.                                                                    Martin had
               Plaintiff has also plead that, upon information and belief, Mr. Martin had "actual,
                                                                                          “actual,

personal knowledge that a Coca-Cola drink machine was leaking fluid on the floor of the subject

store for at least 24 hours prior to the subject fall yet failed to clean up the fluid from the floor or

                                       of the
remove the machine form the sales area of the store."
                                              store.” See Petition, Exhibit "A"
                                                                            “A” at
                                                                                at ¶
                                                                                   ¶ 9.
                                                                                     9. But this

hollow allegation is simply not supportable, aa fact
                                                fact which
                                                     which is
                                                           is conceded
                                                              conceded by
                                                                       by Plaintiffs
                                                                          Plaintiff’s discovery
                                                                                      discovery

responses. When asked to name every individual who he believes has information regarding the

                                                                              Plaintiff’s Answers
allegations contained in his Petition, Plaintiff did not name Mr. Martin. See Plaintiff's Answers to
                                                                                                  to

                         “B” at
Interrogatories, Exhibit "B" at pp.
                                pp. 5-7,
                                    5-7, Answer No. 9. Instead, he answered:


 Lloyd Price recalls several Wal-Mart employees in the area immediately after he fell;
 however, he is unable to recall the names. He believes an accident report was filled out
 by Wal-Mart which contained their names.


Id. at p. 7.

        18.
        18.     Likewise, Plaintiff did not list Mr. Martin as an individual who he anticipates

                                   Plaintiff’s Answers
calling as a witness at trial. See Plaintiffs  Answers to
                                                       to Interrogatories,         “B” at
                                                          Interrogatories, Exhibit "B" at pp.
                                                                                          pp. 7-8,
                                                                                              7-8,

Answer No. 10.

        19.
        19.    Mr. Martin executed a sworn affidavit, refuting the allegation that he had personal

knowledge that a Coca-Cola drink machine was allegedly leaking fluid on the floor for some 24

hours prior
hours prior to
            to Plaintiffs
               Plaintiff’s fall.                                        “C” at
                           fall. See Affidavit of Stacy Martin, Exhibit "C" at ¶
                                                                               ¶ 8. He attests that he

had no such knowledge of any alleged leak from the Coke machine at issue in this litigation, or


                                                   6
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any other Coke machine at the Monroe Wal-Mart store. Id. Further, Mr. Martin was not even at

work on March 27, 2016, the day upon which Plaintiff claims to have been injured. Id. at ¶
                                                                                         ¶ 6.

       20.     Plaintiff cannot establish that Mr. Martin owed any personal duty to Plaintiff. Thus,

Defendants submit that he has been improperly joined and his citizenship must be disregarded for

the purpose of determining whether this court can maintain jurisdiction over this case under 28

U.S.C. § 1332(a).


          THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED


       21.     In the Petition for Damages, Plaintiff alleges that he fell on a wet floor and sustained

                                                                                               “A”
serious injuries which required him to seek extensive medical treatment. See Petition, Exhibit "A"

   ¶ 7. Specifically, Plaintiff alleges that his feet slipped out from under him, and he landed flat
at ¶

                                                               ¶ 5. He claims to have suffered
on his back, striking the concrete floor with his back. Id. at ¶

extensive injuries to various parts of his body, including his left arm, neck, back, numbness in his

fingers and
fingers and aa "host
               “host of
                     of other
                        other injuries."
                              injuries.” Id. at ¶    Plaintiff’s Petition
                                                ¶ 6. Plaintiff's Petition alleged damages include past

and future loss of enjoyment of life, past and future pain and suffering, past and future mental

anguish and emotional distress, past and future medical expenses, past and future loss of earning

capacity, past and future loss of earnings, past and future disability, past and future physical

impairment, past and future loss of non-market services (inability to perform activities of daily

living and the like), and past and future embarrassment. Id. at ¶
                                                                ¶ 13. Plaintiff also alleged that the

amount in controversy exceeds $50,000.00. Id. at ¶
                                                 ¶ 14. However, the precise amount of damages

                                                                                  “A.” Nothing in
Plaintiff sought to recover was not articulated. See generally, Petition, Exhibit "A."

Plaintiff’s Petition
Plaintiffs  Petition indicated that the
                     indicated that the value
                                        value of
                                              of his
                                                 his claims
                                                     claims exceeded
                                                            exceeded $75,000.00.
                                                                     $75,000.00.

       22.     On April 5, 2017, Coca-Cola Bottling Company United, Inc. propounded

Interrogatories on Plaintiff and, as expressly authorized by the Louisiana Code of Civil Procedure,

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asked him to itemize his alleged damages. Answers thereto were received on July 26, 2017. See

Plaintiff’s Answers
Plaintiffs  Answers to
                    to Interrogatories,
                       Interrogatories, Exhibit “B.” Specifically, in responding to Interrogatory
                                        Exhibit "B."

No. 27, Plaintiff stated that the amount of damages he seeks to recover as a result of the alleged

incident exceeds $300,000.00:

   ANSWER TO 1NXERROGATORY NO. 27:

                                Lind Price - Dinh{   ea
    Past and future Loss of ci&ment of life                     $75.000-00
    Past and future pain and suffering                          $15 ,000 .00

    Past and future mental anguish and emotional distress       550,000.00
    Past and future loss of household/non-market services       $25,000.00
    Past and future physical irripairrnetu                      $25,000.00
    Past and future permanent starring                          $1.0,000 .00
    Past and future embarrassment                               $50 000.00
    Past and future gratuitous mcdica] care                 unknown at this time
    Past medical expenses (not including "unknown")             S13.853.00
    Future medical co • rises                               unknown at this time


    Totals (ant including "unknown")                            $3234153.00




Id. at p. 15. Accordingly, these discovery responses indicated—for the first time
                                                                             time—that
                                                                                  that the amount

in controversy exceeds $75,000.00, exclusive of interest and costs.

        23.        This Notice of Removal is being filed within thirty days of July 26, 2017, the date

                             Plaintiff’s discovery
on which Defendants received Plaintiff's discovery responses,
                                                   responses, an
                                                              an "other
                                                                 “other paper"
                                                                        paper” which indicated

                                                                                       Plaintiff’s
that the amount of controversy exceeds 75,000.00, exclusive of interest and costs. See Plaintiffs

Answers to
Answers to Interrogatories
           Interrogatories and
                           and Email
                               Email Transmission
                                     Transmission of
                                                  of Same, dated July
                                                     Same, dated July 26,
                                                                      26, 2017,
                                                                          2017, Exhibit
                                                                                Exhibit "B."
                                                                                        “B.”

        24.        Defendants do not admit the underlying facts as alleged by Plaintiff or as

summarized above. Further, Defendants expressly deny that they have any liability to Plaintiff.

                                     OTHER REMOVAL REQUIREMENTS

        1.         This Notice of Removal is being filed in the United States District Court for the

Western District of Louisiana, Monroe Division, the District Court of the United States for the



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district and division within which the state court action is pending, as required by 28 U.S.C.

§§1441(a) and 1446(a).

       2.
       2.        No previous application has been made for the relief requested.

       3.
       3.        Per 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders as exist in the

state court record at the time of removal have been requested and will be filed once received from

the state court clerk. Per 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

                                                              4th District Court for the Parish of
upon counsel for Plaintiff and a copy is being filed with the 4th

Ouachita.

       4.        Defendants have complied with all procedural requirements governing removal

pursuant to 28 U.S.C. §§1441 and 1446, the Federal Rules of Civil Procedure and the Local Rules

of this Court.

       WHEREFORE, having shown that the procedural and substantive requirements for

removal have been met, Defendants Coca-Cola Bottling Company United, Inc., The Coca-Cola

Company, Wal-Mart Louisiana LLC, Wal-Mart Stores, Inc., and Stacy Martin respectfully remove

                     4th Judicial District Court for the Parish of Ouachita, bearing Case No. 17-
this action from the 4th

0654, to the United States District Court for the Western District of Louisiana, Monroe Division,

pursuant to 28 U.S.C. § 1441.

                                        Respectfully Submitted:

                                        IRWIN FRITCHIE URQUHART & MOORE LLC

                                        /s/ Matthew W. Bailey
                                        /s/            Bailey_____________
                                        MATTHEW W. BAILEY (#21459)
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                                      Bottling Company United, Inc. and
                                      The Coca-Cola Company

                                      BLANCHARD, WALKER, O'QUIN        & ROBERTS
                                                                O’QUIN & ROBERTS
                                      (A Professional Law Corporation)

                                      /s/ Paul M
                                      /s/      M. Adkins (with permission)
                                                               permission)_____
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                                      Fax (318) 221-2967
                                      PAdkins@bwor.com
                                      Attorneys for Wal-Mart Louisiana LLC,
                                      Wal-Mart Stores, Inc., and Stacy Martin


                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing pleading has been electronically filed and delivered to
 all counsel of record by depositing a copy of same in the United States mail, first class postage
 prepaid, and this 24th day of August, 2017, at their last known address of record.

                                                     /s/ Matthew W. Bailey
                                                     /s/




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